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                                            SUMMONS                                                                      roncmmrusuwav
                                                                                                                       001.0MM1110 OEM CORTQ
                          (CIT/iCION JUDICIAL)
      NOTICE TO DEFENDANT CAL-MAWr STORES, INC., a Delaware
                                                                                                                                  FILED
                                                                                                                SUPERIOR COURT of CA, COUN
      (A11130 At. DEMANDADO): corporation doing business in
      California, WAL-MMT ASSOCIATES, INC., a Delaware corporation
      doing business in California, and DOES 1-15, Inclusive
                                                                                                                             MAY 152017
      YOU ARE BEING SUED BY PLAINTIFF:
                                                                                                                     TERRY McNALLY, CLERK
      (LO EBTA DEMANDANDO EL DEMAND.4NTE):
                                                                                                                    BY FNnORSd18PUTY
       KARINit RUIZ, an individual

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                                       NOTICE TO THE PERSON SERVED: You are served
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     I ALEXANDER KRAKOW + GLICK LIP                                                            fiLE coUN1
        Michael S. Morrison (State Bar No. 2bS Gy OF ASSIGNMENT AND
                                                                                      PER%0 0
     2 AMelia Atvarez (State Bar No. 31001jSE MANAGEMENT CONFERENCE
     - Jessica S. Chat (State Bar No 312796)Isigned tfl_,1
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        401 Wilshire Boulevard, Suite 1000             rTwMAStCLjpJF.__ all Purposei.

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     i AttomeyMor Plaintiff KARINA RUIZ


                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
     9
                                    IN AND FOR THE COUNTY OF KERN
    10
                                                                                                TSC
          .KARINARUIZ,aniridividual.                caseNo.    BC V - 1? —toto&t
                       Plaintiff,                   COMPLAINT FOR DAMAGES AND
                                                    INJUNCTIVE RELIEF
             vs.
                                       a                   PREGNANCY DISCRIMINATION
                                                           (Cal. Gov't Code § 12940(a))
    15
          1NC1D                                             VIOLATION OF PREGNANCY
          business                                          DISABILITY LEAVE (Cal. Gov't
    17*
          inclusive,                                        Code §12945)
                       Oefendants
                                                        3. DISABILITY DISCRIMINATION (Cal.
                                                           Gov't. Code §12940)
    IIII
                                                        4. RETALIATION (Cal. Gov't Code
                                                           §12940)
    2I
                                                        S. FAILURE TO PREVENT AND
    22                                                     REMEDY DISCRIMINATION AND
                                                           RETALIATION (Cal. Gov't Code
    23
                                                           §12940(k))
    24
                                                         S. FAILURE TO ENGAGE IN THE
    25                                                      INTERACTIVE PROCESS (Cal.
                                                            Gov't Code §12940(n))
    26
    27                                                   7. FAILURE TO PROVIDE
                                                             REASONABLE ACCOMMODATION
    28                                                       (Cal. Gov't Code §12940(m))




                                                                                        EXHIBIT A
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1                                                       VIOLATION OF HEALThY
                                                        WORKPLACES, HEALTHY
2
                                                        FAMILIES ACT OF 2014 (Cal. Lab.
3                                                       Code § 246.5, 248.5)

4                                                       WAITING TIME PENALTIES (Cal.
                                                        Lab. Code §§ 201, 202, 203)
5
                                                     10.INTERFERENCE IN VIOLATION OF
6
                                                         CFRA (Cal. Gov't Code § 12945.2(t))
7
                                                     11.RETALIATION IN VIOLATION OF
8                                                       CFRA (Cal. GoVt Code §
                                                        12945.2(I)(1))
9
                                                     12.WRONGFUL TERMINATION IN
10
                                                        VIOLATION OF PUBLIC POLICY
11
                                                     13. PRIVATE ATTORNEYS GENERAL
12                                                      ACT (Cal. Lab. Code §§ 2698, It
                                                        seq.)
13

14
                                                     14.UNFAIR BUSINESS PRACTICES
                                                        (Cal. Bus. & Prof. Code § 17200, It
15                                                      seq.)
16
                                                  DEMAND FOR JURY TRIAL
17

18

19

20

21             Plaintiff Karma Ruiz complains and alleges on information and belief the following
22       against Defendants Wal-Mart Stores, Inc., Wal-Mart Associates1 Inc., and DOES 1-15:
23                                          INTRODUCTION
24             1.        This is a discrimination case arising out of Plaintiff Karma Ruiz's

25   I
         ("Plaintiff' or "Ruiz") employment with Wal-Mart Stores, Inc. and Wal-Mart Associates,
26       Inc. (collectively, "Defendants" or Wal-Mart'). Plaintiff was subjected to discrimination
27       and retaliation as a result of her pregnancy and requests for accommodation of her
28       pregnancy and/or pregnancy-related medical conditions.
                                                 2
                                                                                 EXHIBIT A
                          COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
         Case 1:17-cv-00812-DAD-JLT Document 1-3 Filed 06/16/17 Page 4 of 30
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     1           2.        Wal-Mart Stores, Inc. operates a nationwide chain of discount
     2    department stores and grocery stores in different formats, including the Supercenter,
     3    Discount Store, and Neighborhood Market. Plaintiff began working for Defendants on or

     4    around October 15, 2010 at a Super Center location. In 2015, Ms. Ruiz transferred to

     5    work for Defendants at the Wal-Mart Neighborhood Market in Bakersfield, California.
                 3.        In February 2016, Ms. Ruiz suspected that she was pregnant with her

     71 second child. Around March 23, 2016, Ms. Ruiz hand-delivered a doctors note indicating
     81 her    pregnancy to Wal-Mart's Human Resources and Personnel Office and notified Wal-
     9    Mart of her need for accommodation in the future. On June 5, 6, and 7, 2016, Ms. Ruiz
 10       was placed off work as a result of pregnancy-related conditions. On June 8, 2016, Wal-
 11       Mart terminated Ms. Ruiz for clearly pretextual reasons. The real reason Plaintiff was
 12       terminated was because of her pregnancy and the need for accommodation because of
 13       her pregnancy.
 14                                      JURISDICTION AND VENUE
 15              4.        This Court has personal jurisdiction over Defendants because they are
 16      I residents of and/or doing business in the state of California.
 171             5.        Venue is proper in this Court in accordance with Section 395(a) of the

 18      I California Code of Civil Procedure because Defendants employed Plaintiff in Kern County
 19       and the harms occurred in Kern County.
 20                                                 PAR11ES
 21              6.     At all relevant times, Plaintiff Karma Ruiz rPlaintift" or "Ruiz°) was a
 22       resident of Kern County, California.
 23              7.     Plaintiff is informed and believes, and on that basis alleges, that Defendant
 24       Wal-Mart Stores, Inc. is a Delaware corporation doing business in the state of California
 25       and in the County of Kern. At all relevant times, Defendant Wal-Mart Stores, Inc. had at
 26       least five (5) employees and was therefore an employer within the meaning of the Fair
 27       Employment and Housing Act. (Gov't Code § 12926(d)).
 28      11/
                                                        3
                                                                                    EXHIBIT A
                            COMPLAiNT FOR DAMAGES AND DEMAND FOR JURY TRIAL
               Case 1:17-cv-00812-DAD-JLT Document 1-3 Filed 06/16/17 Page 5 of 30
     2.
11


          I               8.     Plaintiff is informed and believes, and on that basis alleges, that Defendant

          2        Wal-Mart Associates, Inc. is a Delaware corporation doing business in the state of

          3        California and in the County of Kern. At all relevant times, Defendant Wal-Mart Stores,

          4        Inc. had at least five (5) employees and was therefore an employer within the meaning of

          5        the Fair Employment and Housing Act. (GoVt Code § 12926(d)).

          6               9.      The true names and capacities of defendants named as DOES 1-15,

          7        inclusive, whether individual, corporate, associate, or otherwise, are unknown to Plaintiff,

          8        who therefore sues such defendants by such fictitious names. Plaintiff will amend this

          9        Complaint to show true names and capacities when they have been determined.

      10                  10. At all times mentioned herein, Defendants, and each of them, were the

      11 agents, representatives, employees, successors, assigns, parents, subsidiaries and/or
      12           affiliates, each of the other, and at all pertinent times were acting within the course and

      13           scope of their authority as such agents, representatives, employees, successors,

      14           assigns, parents, subsidiaries and/or affiliates. Plaintiff also alleges that Defendants

          15       were, at all relevant times, the alter egos of each other. Wherever reference is made to

          16   1   Defendants herein, it is intended to include all of the named Defendants as well as the

          17       DOE Defendants. Each of the fictitiously named DOE Defendants is responsible in

          18        manner for the occurrences alleged and proximately caused Plaintiffs damages.

          19                            FACTS COMMON TO ALL CAUSES OF ACTION

          20                   11.   Plaintiff Karma Ruiz began working for Defendants at a Supercenter

          21       I store on or around October 15, 2010. While employed at the Supercenter, Ms. Ruiz had
          22       I her first child on February 24, 2012.
          23                   12. In April 2015, Ms. Ruiz was transferred to the Wal-Mart Neighborhood

          24       I Market located at 5037 East Brundage Lane, Bakersfield, California, and remained
          25        employed there until she was wrongfully terminated on June 8, 2016.

          26                   13.    Ms. Ruiz worked in the Deli department. During her tenure at the Wal-

          27        Mart Neighborhood Market, Ms. Ruiz was supervised by Teresa Rodriguez.

          28 II//
                                                            4
                                                                                              EXHIBIT A
                                      COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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        1            14. On or around March 18, 2016, Ms. Ruiz had a doctors appointment at
        2 Kaiser and was given a document stating that she was pregnant. On or soon after March

        3 18, 2016, Ms. Ruiz hand-delivered the original Kaiser note indicating that she was

        4 pregnant to Human Resources Representative Kelly Cruz. Eventually, Ms. Ruiz became

        5 noticeably pregnant, and co-workers often commented on her pregnancy and asked how

        6 she was feeling.

        7            15. Around April 29, 2016, Ms. Ruiz had a doctors appointment. Ms. Ruiz

        8 I learned that she would be placed on light duty when she was 20-weeks pregnant.
        9            16. In May 2016, Ms.. Ruiz asked Assistant Manager Jesus [Last Name
    10 Unknown] for vacation time and indicated that it was because she was tired. Ms. Ruiz

    11 asked Jesus for this vacation time before formally requesting it because Jesus had

    12 recently denied her vacation requests, and, tired from her pregnancy, she knew she

    13 needed the time off. Jesus replied with words to the effect of, "my wife is also pregnant

    14 and I am also tired, but I'm not asking for time off." Ms. Ruiz was offended and explained

    15 to Jesus that she had over 100 hours available to take time off.

    16               17. Shortly after these remarks, Ms. Ruiz reported Jesus's comments to a
    17 I manager, Derek [Last Name Unknown], by using Wal-Mart's Open Door Policy. Ms. Ruiz

    18 had never before used the Open Door Policy, but she was concerned that Jesus's

    19 behavior might continue if she did not complain about it. Derek told Ms. Ruiz that he

    20             speak with Jesus about her complaint. After Ms. Ruiz spoke with Derek about
    21 Jesus's inappropriate comments about her pregnancy, Jesus told Ms. Ruiz that he would

    22 likely approve her vacation days. However, as explained below, Wal-Mart and Jesus

    23 never really had any intention of allowing Ms. Ruiz to take vacation time in connection

    24 with her pregnancy.

    25                18. A few days after she reported Jesus's comments, Derek asked Ms. Ruiz
        26 ! when she was due. Ms. Ruiz replied that she was due on November 13, 2016. Ms. Ruiz

        27 informed Derek that she would be placed on light duty at 20 weeks and off work when
        28 ! she was 36 weeks pregnant. Ms. Ruiz asked Derek when they would give her people to

                                                    5                        EXHIBIT A
                             COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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'I




     I     train to cover her when she was out on maternity leave. Derek assured Ms. Ruiz that her

     2     maternity leave would be covered.
     3               19. On June 5, 2016, Ms. Ruiz woke up feeling weak and ill. Ms. Ruiz

     4     called Wal-Mart's Associate Hotline ("Hotline") on June 5, and completed the steps for

     5     calling in sick. Ms. Ruiz followed-up to her call to the Hotline by calling the store and

     6     informing an assistant manager that she was ill and could not go in to work that day.

     7               20. On June 5, 2016, Ms. Ruiz sought medical attention on account of

     B     feeling ill. Ms. Ruiz learned that she was dehydrated and had developed anemia in

     9     pregnancy, which made her tired and weak. Ms. Ruiz was also advised by her health

     10    care provider that she needed rest and was placed off work for three days by her health

     11    care provider. Ms. Ruiz was issued a doctor's note to provide to her employer indicating

     12    that she needed to be placed off work between June 5 and June 7, 2016.
     13              21. Later on June 5, Ms. Ruiz called Wal-Mart supervisor Teresa Rodriguez.

     14    Ms. Ruiz told Rodriguez that she was in urgent care and needed to be off work for three

     15    days per her doctor's orders. Ms. Ruiz said she would bring a doctor's note for her

     16    absence from June 5-7, 2016, but Rodriguez told Ms. Ruiz to bring the note when she
     17    returned to work.
     18              22. On June 6 and 7, 2016, Ms. Ruiz called the Wal-Mart Associate Hotline

     19    each day to call out sick.
     20              23. On June 8, 2016, Ms. Ruiz reported to work. While trying to enter the

     21    three days as sick days in the system, she noticed her vacation request was still pending.

     22    Towards the end of Ms. Ruiz's shift, Cruz asked Ms. Ruiz to go with her to the office.

     23              24. At the Human Resources office, Ms. Ruiz met with Cruz and Manager

     24    Annalisa Muro, who terminated Ms. Ruiz's employment. Muro told Ms. Ruiz that there

     25    was an automatic point system for attendance that called for Ruiz's termination because
     26    Ms. Ruiz exceeded the system by 0.5 points due to her absences between June 5 and

     27    June 7, 2016. Ms. Ruiz told Muro that she had been out sick for those three days and

     28    had a doctor's note, but Muro refused to accept the doctor's note and insisted that the
                                                                                     EXHIBIT A
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 it termination decision stood.
2             25. On Ms. Ruiz's separation form, Muro marked the separation as

 3 "voluntary1' and indicated that Ms. Ruiz had "9.5 active absences. No protected time

4 available." At no point did Mr. Ruiz voluntarily resign from her employment with Wal-

 5 Mart. At the termination meeting, Ms. Ruiz was informed for the first time that, under

6 Wal-Mart's new points system, an employee who accumulates 9 or more points for

7 unexcused tardiness or absences is subject to discipline and that she had accumulated

 8 9.5 points because of her three sick days.

              26.    Ms. Ruiz later returned to the store to ask for the record that listed her

10 points. The record showed that Ms. Ruiz had accumulated 6.5 points and was below the

11 9 points required for termination. This was different from the record that she was

12 previously made aware of, which indicated that Ms. Ruiz had accumulated 9.5 points,

13 including the points accumulated by her three excused sick days.

14            27.   Defendants' conduct was willful at all times.

15            28. Wal-Mart terminated Ms. Ruiz for pretextual reasons. The termination

16 occurred just within three months of her letting Wal-Mart know she was pregnant and

17 would require accommodation; two weeks before Ms. Ruiz was to be placed on light duty;

18 and on the same day that Ms. Ruiz returned to work after a three-day absence based on

19 her doctor's order to rest and stay off work for 3 days. The real reason Ms. Ruiz was

20 terminated was because of her pregnancy, the need for accommodation during her

21 pregnancy term, her need to take sick days, her attempt to use sick days and missing

22 work, and her anticipated need for leave associated with her pregnancy and disability.

23            29. On June 24, 2016, an email was sent on Ms. Ruiz's behalf to Geoffrey

24 Edwards, Gordon Allison, Kristopher Isham, and Karen Roberts, all of whom serve as

25 general counsel to Wal-Mart. The email explained that the absences Wal-Mart had

26 based Ms. Ruiz's termination upon were due to pregnancy-related illness. The email also

27 described how Ms. Ruiz notified Wal-Mart of her pregnancy, her illness, and her need for

28 leave before being terminated. Despite being placed on notice of Wal-Mart's unlawful

                                                AND
                                                                              EXHIBIT A
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S




    1 actions against Ms. Ruiz, Wal-Mart's general counsel dismissed Ms. Ruiz's claims.
    2               30. To date, Wal-Mart has not offered to reinstate Ms. Ruiz.

     3              31.    Plaintiff timely filed a Complaint of Employment Discrimination with the

    4     California Department of Fair Employment and Housing on February 2. 2017 against

    5     Defendants and received a right-to-sue letter on the same date. Plaintiff has, therefore,

    6     fully exhausted all administrative remedies.

     7              32. Plaintiff has incurred both economic and non-economic damages as a

    8     result of Defendants' unlawful conduct.
    9               33. Defendants, by their conduct as set forth herein, have engaged in

    10    despicable conduct, exposing Plaintiff to cruel and unjust hardship, with the intention to

    11    cause injury to Plaintiff, and with conscious disregard of her rights. Defendants occupied

    12    a position of trust which them power to damage Plaintiff's ability to earn a livelihood.

    13    Defendants abused that position of trust with malice, oppression, and reckless disregard

    14    of Plaintiffs rights under the circumstances described here. Defendants' conduct was

    15    carried out by and ratified by one or more of Defendants' managing agents. Plaintiff is

    16    therefore entitled to punitive damages in an amount to be proven at trial. Defendants'

    17    conduct in discriminating and retaliating against Plaintiff was willful and oppressiva and

    18    done in conscious disregard of her rights.
    19                                   FIRST CAUSE OF ACTION

    20                                PREGNANCY DISCRIMINATION

    21                               (Cal. Gov't Code § 12940, at seq.)

    22                                  By Plaintiff against Defendants

    23              34.    Plaintiff re-alleges and incorporates by reference each of the preceding

    24    paragraphs as though fully stated here.
    25              35. At all relevant times, Plaintiff was a member of a protected class within

    26    the meaning of FEHA because she was pregnant and/or had a condition related to

    27    pregnancy or childbirth.
    28   'II
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 1             36.   Defendants' conduct described in this Complaint violates California

 2 Government Code sections 12940(a). This subsection makes it unlawful bran employer

 3 to discriminate against any person in compensation or the terms, conditions, or privileges

 4 of employment because of sex. Government Code section 12926(r)(1) defines 'se? to

 5 include "[p]regnancy or medical conditions related to pregnancy," and "[c]hildbirth or

 6 medical conditions related to childbirth?

 7             37.   Plaintiff is informed and believes and thereon alleges that Defendants'

 8 conduct, as described more fully above, including, but not limited to, terminating her

 9 employment, was motivated by Plaintiffs pregnancy.

10             38. Within the time provided by law, Plaintiff caused to have filed a charge

11 with the California Department of Fair Employment and Housing ("DFEH"), alleging

12 pregnancy, gender, and disability/perceived disability discrimination against Defendants.

13 The DFEH issued a right-to-sue notice against Defendants on February 2, 2017.

14             39. As a proximate result of Defendants willful, knowing, and intentional acts

15 of discrimination against Plaintiff. Plaintiff has sustained losses in earnings and other

16 employment benefits.

17             40. As a proximate result of Defendants' willful, knowing and intentional acts

18 of discrimination against Plaintiff, Plaintiff suffers emotional distress and mental pain and

19 anguish.

20 1           41.    Defendants' conduct, as described above, was willful, knowing and

21 intentional. Accordingly, Plaintiff seeks an award of punitive and exemplary damages

22 against Defendants.

23             42.   As a direct result of the acts alleged above, Plaintiff has had to hire the

24 services of an attorney. As a result, Plaintiff has incurred and continues to incur legal

25 expenses and attorneys' fees, and is entitled to an award of attorneys' fees and costs

26 pursuant to Government Code section 12965(b).

27     /11
28     I,,
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I                                  SECOND CAUSE OF ACTION

2                     VIOLATION OF PREGNANCY DISABILITY LEAVE

3                                (Cal. Gov't Code § 12945, et seq.)

4                                  By Plaintiff against Defendants

5             43.    Plaintiff re-alleges and incorporates by reference each of the preceding

6 paragraphs as though fully stated here.

 7            44. At all relevant times, Plaintiff was pregnant and/or was disabled by her

8 pregnancy related medical conditions within the meaning of FEHA, as described above.

9             45.    Defendants' conduct described in this Complaint violates California

10 Government Code section 12945(a)(1). This subsection allows an employee disabled by

11 her pregnancy to take up to four months of unpaid leave and requires an employer to

12 thereafter return the employee to the same or a comparable position.

13            46.    Plaintiff is informed and believes and thereon alleges that Defendants'

14   conduct, as described more fully above, including, but not limited to, terminating her

15 employment, was in anticipation of having to accommodate her in the form of a

16 pregnancy disability leave.

17            47. Within the time provided by law, Plaintiff caused to have filed a charge

18 with the California Department of Fair Employment and Housing ("DFEH°), alleging

19 pregnancy, gender, and disability/perceived disability discrimination against Defendants.

20 The DFEH issued a right-to-sue notice against Defendants on February 2, 2017.

21            48. As a proximate result of Defendants willful, knowing and intentional acts

22 of discrimination against Plaintiff, Plaintiff has sustained losses in earnings and other

23 employment benefits.

24            49. As a proximate result of Defendants' willful, knowing and intentional acts

25 of discrimination against Plaintiff, Plaintiff suffers emotional distress and mental pain and

26 anguish.

27   'II
28   I/I
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 1              50.    Defendants' conduct, as described above, was willful, knowing and

 2 I intentional. Accordingly, Plaintiff seeks an award of punitive and exemplary damages
 3 I against Defendants.

 4              51.    As a direct result of the acts alleged above, Plaintiff has had to hire the

 5    services of an attorney. As a result, Plaintiff has incurred and continues to incur legal

6  I expenses and attorneys' fees, and is entitled to an award of attorneys' tees and costs
 7 I pursuant to Government Code section 12965(b).

 8                                   THIRD CAUSE OF ACTION

 9                                 DISABILITY DISCRIMINATION

10                                (Cal. Gov't Code § 12940, et seq.)

11                                  By Plaintiff against Defendants

12              52.    Plaintiff re-alleges and incorporates by reference each of the preceding

131 paragraphs as though fully stated here.
14              53.    At all relevant times, Plaintiff was pregnant and/or suffered from a

15    physical disability as defined by the Fair Employment and Housing Act ("FEHA"), as

16   I discussed above. Alternatively, at all times, Defendants perceived that Plaintiff suffered
17    from a physical disability as defined by FEHA.

181             54. Defendants' conduct described in this Complaint violates Government

19   I Code sections 12940(a) and 12940(m). It is unlawful employment practice for. an
20    employer to discriminate against an employee based on physical disability, and fail to

21    provide reasonable accommodations to employees with known physical disabilities.

22              55.    Plaintiff is informed and believes and thereon alleges that Defendants'

23   I conduct, as described more fully above, including, but not limited to, terminating her, was
24    motivated by her physical disability or perceived physical disability.

25              56.    Subsequent to Plaintiff being physically disabled or being perceived as

26 I being disabled by Plaintiffs pregnancy, Defendants discriminated against her by refusing
27 Ito allow her to use her sick leave, by delaying approval of vacation requests, by granting

28    approval for vacation days and then taking those days away, by promising to grant
                                              11
                        COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
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 1      approval of a vacation request. and then failing to approve the request, by refusing to

 2      accept her doctors note regarding her sick days, by terminating her, and by other

 3 conduct according to proof.

 4                 57. Within the time provided by law, Plaintiff caused to have filed a charge

 5      with the California Department of Fair Employment and Housing ("DFEH"), alleging

 6      pregnancy, gender, and disability/perceived disability discriminatibn against Defendants.
 rt The DFEH issued a right-to-sue notice against Defendants on February 2, 2017.

 8                 58. As a proximate result of Defendants' willful, knowing and intentional acts

 9      of discrimination against Plaintiff, Plaintiff has sustained losses in earnings and other

10      employment benefits.
11                 59. As a proximate result of Defendants' willful, knowing and intentional acts

12      of discrimination against Plaintiff, Plaintiff suffers emotional distress and mental pain and

13      anguish.
14                 60.    Defendants' conduct, as described above, was willful, knowing and
15 intentional. Accordingly, Plaintiff seeks an award of punitive and exemplary damages

16      against Defendants.
17                 61.   As a direct result of the acts alleged above, Plaintiff has had to hire the

18      services of an attorney. As a result, Plaintiff has incurred and continues to incur legal

191 expenses        and attorneys' fees, and is entitled to an award of attorneys' lees and costs

20 1    pursuant to Government Code section 12965(b).

fr4 I                                 FOURTH CAUSE OF AC11ON

22                                            RETALIATION

23                                  (Cal. Gov't Code § 12940, et seq.)

24                                    By Plaintiff against Defendants

25                 62.    Plaintiff re-alleges and incorporates by reference each of the preceding

26 paragraphs as though fully stated here.

27 !               63. Defendants' conduct violates Government Codes section 12940(h). It is

28      an unlawful employment practice for an employer to discriminate against an employee
                                                12                                  EXHIBIT A
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     ii because he or she has complained about or opposed any practices that are unlawful
     2 under FEHA, through informal or formal complaints alleging such unlawful conduct.

     3            64.    Plaintiff engaged in protected activity on multiple occasions, including,

     4 but not limited to, complaining of discriminatory remarks and treatment, requesting

     5 accommodation for her pregnancy and related medical conditions, asserting her right to

     6 disability leave for women who are disabled due to pregnancy, chitdbirth, or related

     7 medical conditions under California's Pregnancy Disability Leave law and the California

     8 Family Rights Act, and asserting her right to engage in the interactive process regarding
     9 her physical disability. These requests were made to Defendants' management and/or

    10 Human Resources.

    11            65.    Defendants subjected Plaintiff to adverse actions as a result of Plaintiff's

    12 protected activity, including but not limited to refusing to allow her to use her sick leave,

    13 delaying approval of vacation requests, promising to grant approval of a vacation request

    14 and then failing to approve the request, refusing to accept her doctor's note regarding her

    15 sick days, terminating her, and other conduct according to proof.

    16            66. As a proximate result of Defendants' willful, knowing and intentional acts

    17 of discrimination against Plaintiff, Plaintiff has sustained losses in earnings and other

    18 employment benefits.

    19            67. As a proximate result of Defendants' willful, knowing and intentional acts

    20 of discrimination against Plaintiff, Plaintiff suffers emotional distress and mental pain and

    21 anguish.

    22            68.     Defendants' conduct, as described above, was willful, knowing and

    23 intentional. Accordingly, Plaintiff seeks an award of punitive and exemplary damages

    24 against Defendants.

    25            69.    As a direct result of the acts alleged above, Plaintiff has had to hire the

    26 services of an attorney. As a result, Plaintiff has incurred and continues to incur legal

    27 expenses and attorneys' fees, and is entitled to an award of attorneys' fees and costs

    28 pursuant to Government Code section 12965(b).
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1                                    FIFTH CAUSE OF ACTION

2                     FAILURE TO PREVENT, INVESTIGATE, ANDIOR REMEDY

3                              DISCRIMINATION AND RETALIATION

4                                   (Cal. Gov't Code § 12940(k))

5                                   By Plaintiff against Defendants

6              70.      Plaintiff re-alleges and incorporates by reference each of the preceding

 7   paragraphs as though fully stated here.

8              71.      At all relevant times, Plaintiff was pregnant and/or suffered from a

9.   physical disability as defined byFEIlA, as discussed above. Alternatively, at all times,

10   Defendants perceived that Plaintiff suffered from a physical disability as defined by

11   FEHA.
12             72.      Defendants' conduct described in this Complaint violates California

13   Government Code section 12940(k). This subsection makes it unlawful for an employer

14   to fail to take all reasonable steps necessary to prevent discrimination and retaliation

15   from occurring.
16              73.     Plaintiff is informed and believes and thereon alleges that Defendants'

17   conduct, as described more fully above, including, but not limited to, terminating her, was

18   motivated by her pregnancy, disability and/or perceived disability.      .   Defendants also

19   retaliated against Plaintiff as alleged herein. Defendants knew of this discrimination and

20    retaliation and/or reasonably should have known of the discrimination and retaliation, and
21 failed to act to prevent, investigate and/or remedy the discrimination and retaliation in

22 violation of Government Code section 12940(k).

23              74. Within the time provided by law, Plaintiff caused to have filed a charge

24    with the California Department of Fair Employment and Housing (LIDFEHU), alleging

25    pregnancy, gender, and disability/perceived disability discrimination against Defendants.

26    The DFEH issued a right-to-sue notice against DEFENDANTS on February 2, 2017.

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I              75. As a proximate result of Defendants' willful, knowing and intentional acts
2 of discrimination against Plaintiff, Plaintiff has sustained losses in earnings and other

3 employment benefits.
4              76. As a proximate result of Defendants' willful knowing and intentional acts

5 of discrimination against Plaintiff, Plaintiff suffered emotional distress and mental pain

6     and anguish.
7              77.    Defendants' conduct, as described above, was willful, knowing and

 8 intentional. Accordingly, Plaintiff seeks an award of punitive and exemplary damages

9     against Defendants.

10             78.. As a direct result of the acts alleged above, Plaintiff has had to hire the

11 services of an attorney. As a result, Plaintiff has incurred and continues to incur legal

12 expenses and attorneys fees, and is entitled to an award of attorneys' fees and costs

13 pursuant to Government Code section 12965(b).

14                                 SIXTH CAUSE OF ACTION

15            FAILURE TO ENGAGE IN A GOOD FAITH INTERACTIVE PROCESS

16                                (Cal. Gov't Code § 12940(n))

17                                By Plaintiff against Defendants

18             79.    Plaintiff re-alleges and incorporates by reference each of the preceding

19 paragraphs as though fully stated here.

20             80. At all relevant times, Plaintiff was pregnant and/or suffered from a

21 physical disability as defined by FEHA, as discussed above. Alternatively, at all relevant

     I
22 times, Defendants perceived that Plaintiff suffered from a physical disability as defined by

23 IFEHA.

24.            81.    Defendants' conduct described in this Complaint violates California

25 Government Code section 12940(n). This subsection makes it unlawful for an employer

26 to fail to engage in a timely, good faith, interactive process with the employee to

27 determine effective reasonable accommodations, if any, in response to an employee's

28 request for reasonable accommodation.
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1             82.   Plaintiff is informed and believes and thereon alleges that Defendants'
2 conduct, as described more fully above, including, but not limited to, terminating her, was

 3 motivated by her pregnancy, disability, and/or perceived disability. Defendants failed to

4 engage in a timely, good faith interactive process with her despite her repeated requests

 5 in violation of Government Code section 12940(n).

6             83. Within the time provided by law, Plaintiff caused to have filed a charge

 7 with the California Department of Fair Employment and Housing ("DFEH"), alleging

 8 pregnancy, gender, and disability/perceived disability discrimination against Defendants.

 9 The DFEH issued a right-to-sue notice against Defendants on February 2, 2017.

10   •        84. As a proximate result of Defendants' willful, knowing and intentional acts

11 of discrimination against Plaintiff, Plaintiff has sustained losses in earnings and other

12 employment benefits.

13            85. As a proximate result of Defendants' willful, knowing and intentional acts

14 of discrimination against Plaintiff, Plaintiff suffered emotional distress and mental pain

15 and anguish.

16            86.    Defendants' conduct, as described above, was willful, knowing and

17 intentional. Accordingly, Plaintiff seeks an award of punitive and exemplary damages

18 against Defendants.

19            87.   As a direct result of the acts alleged above, Plaintiff has had to hire the

20 services of an attorney. As a result, Plaintiff has incurred and continues to incur legal

21 expenses and attorneys' fees, and is entitled to an award of attorneys' fees and costs

22 pursuant to Government Code section 12965(b).

23                              SEVENTH CAUSE OF ACTION

24                              FAILURE TO ACCOMMODATE

25                               (Cal. Gov't Code § 12940(m))

26                               By Plaintiff against Defendants

27            88. Plaintiff re-alleges and incorporates by reference each of the preceding

28 paragraphs as though fully stated here.

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1               89. At all relevant times, Plaintiff was pregnant and/or suffered from a

2    related medical condition or physical disability as defined by FEHA, as discussed above.

3                      at all relevant times, Defendants perceived that Plaintiff was pregnant

4    and/or suffered from a medical condition or physical disability as defined by FEHA.

5               90.         Defendants' conduct described in this Complaint violates California

6    Government Code section 12940(m). It is unlawful employment practice for an employer
7 to fail to make a reasonable accommodation for the known physical disability of an

8    employee.
9               91.         Plaintiff is informed and believes and thereon alleges that Defendants'

10   conduct, as described more fully above, including, but not limited to, terminating her, was

11   motivated by her pregnancy, physical disability and/or perceived physical disability.

12   Plaintiff informed Defendants of her pregnancy and requested several days off due to

13    conditions related to her pregnancy, including dehydration and anemia.

14              92.         At all relevant times, Defendants knew about Plaintiffs disability, and

15   I failed to accommodate her despite her requests in violation of Government Code section
16    12940(m).
17              93. As a proximate result of Defendants' willful, knowing and intentional acts

18   I of discrimination against Plaintiff, Plaintiff has sustained losses in earnings and other
19    employment benefits.
20              94. As a proximate result of Defendants' willful, knowing and intentional acts

21   I of discrimination against Plaintiff, Plaintiff suffers emotional distress and mental pain and
22 languish.
23               95.    .
                             Defendants' conduct, as described above, was willful, knowing and

24   I intentional. Accordingly, Plaintiff seeks an award of punitive and exemplary damages
25    against Defendants.

26                96. As a direct result of the acts alleged above, Plaintiff has had to hire the

27    services of an attorney. As a result, Plaintiff has incurred and continues to incur legal

28    expenses and attorneys' fees, and is entitled to an award of attorneys' fees and costs
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1 pursuant to Government Code section 12965(b).

2                                 EIGHTH CAUSE OF ACTION

3      VIOLATION OF HEALTHY WORKPLACES, HEALTHY FAMILIES ACT OF 2004

4                                (Cal. Lab. Code § 246.5,248.5)

5                                 By Plaintiff against Defendants

6             97.    Plaintiff re-alleges and incorporates by reference each of the preceding

7 paragraphs as though fully stated here.

8             98. At all relevant times, Plaintiff worked in California for the same employer

9 for 30 or more days within a year from the commencement of employment, as discussed

10 above.

11            99.    Defendants' conduct described in this Complaint violates California

12 Labor Code section 246.5. It is unlawful labor practice for an employer to deny an

13 employee the right to use accrued sick days, discharge, or in any manner discriminate

14 against an employee for using accrued sick days or attempting to exercise the right to

15 use accrued sick days.

16            100.   Plaintiff is informed and believes and thereon alleges that Defendants'

17 conduct, as described more fully above, including, but not limited to, terminating her, was

16 motivated by her use of accrued sick days and/or attempt to exercise the right to use

19 accrued sick days. Plaintiff requested several days off to managers and/or Human

20 Resources for paid sick leave purposes, including but not limited to the diagnosis, care,

21 and/or treatment of an existing health condition of, and/or preventive care for, herself due
22 to health conditions related to her pregnancy, including dehydration and anemia.

23            101.       At all relevant times, Defendants knew about Plaintiffs request for

24   paid sick leave, and denied Plaintiff the right to use accrued sick days despite her

25 requests and/or discharged Plaintiff for using accrued sick days and/or attempting to

26 exercise the right to use accrued sick days in violation of Labor Code section 246.5.

27            102.       As a proximate result of Defendants' willful, knowing and intentional
28 I acts of discrimination against Plaintiff, Plaintiff has sustained losses in eamings and other
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     1 employment benefits. In addition, Defendants are responsible for interest and penalties

     2 related to this cause of action pursuant to Labor Code section 248.5.
     3              103.      As a proximate result of Defendants' willful, knowing and intentional
     4 acts of discrimination against Plaintiff, Plaintiff suffers emotional distress and mental pain

     5 and anguish.

     6              104. As a direct result of the acts alleged above, Plaintiff has had to hire the
     7 services of an attorney. As a result, Plaintiff has incurred and continues to incur legal

     8 expenses and attorneys' fees, and is entitled to an award of attorneys' fees and costs

     9 pursuant to Labor Code section 248.5(e).

    10                                  NINTH CAUSE OF ACTION
    11                                 WAITING TIME PENALTIES
    12                               (Cal. Lab. Code fi201, 202, 203)
    13                                 By Plaintiff against Defendants
    14             105. Plaintiff re-alleges and incorporates by reference each of the preceding
    15 paragraphs as though fully stated here.

16                 106. Pursuant to California Labor Code Section 201, if an employer
11 discharges an employee, the wages earned and unpaid at the time of the discharge are
    18 due and payable immediately. Pursuant to California Labor Code Section 202, if an

    19 employee quits his or her employment, the wages earned and unpaid at the time of the

    20 discharge are due and payable within seventy-two (72) hours of resignation.

    21             107. Plaintiff was terminated by Defendants. To this day, Plaintiff has not
    22 received all of the wages and other compensation she rightfully earned.

    23             108. Defendants, and each of them, willfully refused and continue to refuse to
    24    pay Plaintiff all wages earned in a timely manner, as required by California Labor Code
    25 Section 203. Plaintiff therefore requests restitution and penalties pursuant to California

    26 Labor Code Section 203.

    27

    28 III


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1                                    TENTH CAUSE OF ACTION

2                            INTERFERENCE IN VIOLATION OF CFRA

3                                   (Cal. Gov't Code § 12945.2(t))

4                                   By Plaintiff against Defendants

 5              109. Plaintiff re-alleges and incorporates by reference each of the preceding

6     paragraphs as though fully stated here.

7               110.       Plaintiff is informed and believes that Defendants are a covered

 8    employer, as that term is defined in Section 12945.2(c)(2) of the California Government

 9    Code, as well as applicable interpretive regulations.

10              111.       Plaintiff was employed by Defendants for more than one year, and

11    had in excess of 1250 hours of service during the 12 month period immediately preceding

12    her termination. Plaintiff was also suffering from a serious health condition related to her

13    pregnancy.
14              112.       Plaintiff was employed at a worksite where Defendants employs at

15    least fifty (50) employees within seventy-five (75) miles.

16              113.       Defendants recognized Plaintiff was entitled to leave pursuant to the

17    California Family Rights Act ("CFRA').

18              114.       In anticipation of Plaintiffs making a request to take time off of work

19    in relation to a serious health condition related to her pregnancy, Defendants

20    discriminated and retaliated against Plaintiff, including by terminating her employment.

21              115.       Plaintiff was retaliated against for asserting her right to CFRA leave

22    under California law and her right to be free of retaliation for asserting this right.

23    Defendants terminated Plaintiff promptly before it was anticipated that she would begin to

24    need protected leave. Defendants' anticipation that Plaintiff would request leave related

25    to her pregnancy, disability, and/or perceived disability were substantial motivating

26    reasons for Defendants' decision to terminate her.

27              116.       Defendants' conduct violated the CFRA, codified in Section 12945.2

28    I of the California Government Code.
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     1              117. As a proximate result of Defendants' willful, knowing and intentional acts

     2    of discrimination against Plaintiff, Plaintiff has sustained losses in earnings and other

     3    employment benefits.
     4              118. As a proximate result of Defendants' willful, knowing and intentional acts
     S    of discrimination against Plaintiff, Plaintiff suffered emotional distress and mental pain

     31 and anguish.
     7              119. Defendants' conduct, as described above, was willful, knowing and

     8    intentional. Accordingly. Plaintiff seeks an award of punitive and exemplary damages
     9    against Defendants.
    10                                 ELEVENTH CAUSE OF ACTION
    11                             RETALIATION IN VIOLATION OF CFRA
    12                                 (Cal. Gov't Code § 12945.2(I)(1))
    13                                  By Plaintiff against Defendants
    14              120. Plaintiff re-alleges and incorporates by reference each of the preceding
    15    paragraphs as though fully stated here.
    16              121.       Plaintiff is informed and believes that Defendants are a covered
    17    employer, as that term is defined in Section 12945.2(c)(2) of the California Government
    18    Code, as well as applicable interpretive regulations.
    19              122.       Plaintiff was employed by Defendants for more than one year, and
    20    had in excess of 1250 hours of service during the 12 month period immediately preceding
    21    her termination. Plaintiff was also suffering from a serious health condition related to her
    22    pregnancy.
    23              123.       Plaintiff was employed at a worksite where Defendants employs at
    24    least fifty (50) employees within seventy-five (75) miles.
    25              124.       Defendants recognized Plaintiff was entitled to leave pursuant to the
    26    California Family Rights Act ('CFRA").
    27              125.       In anticipation of Plaintiffs making a request to take time off of work
    28    in relation to a serious health condition related to her pregnancy, Defendants

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1 discriminated and retaliated against Plaintiff, including by terminating her employment.

 2            126.       Plaintiff was retaliated against for asserting her right to CFRA leave

 3 under California law and her right to be free of retaliation for asserting this right.

4 Defendants terminated Plaintiff promptly. before it was anticipated that she would begin to

 5 need protected leave. Defendants' anticipation that Plaintiff would request leave related

6 to her pregnancy, disability, and/or perceived disability were substantial motivating

 7 reasons for Defendants' decision to terminate her.

 8            127.       Defendants' conduct violated the CFRA, codified in Section 12945.2

 9 I of the California Government Code.

10            128. As a proximate result of Defendants' willful, knowing and intentional acts

11 of discrimination against Plaintiff, Plaintiff has sustained losses in earnings and other
12 employment benefits.

13            129. As a proximate result of Defendants' willful, knowing and intentional acts

14 1 I of discrimination against Plaintiff, Plaintiff suffered emotional distress and mental pain

15 II and anguish.

16             130. Defendants' conduct, as described above, was willful, knowing and

17 intentional. Accordingly, Plaintiff seeks an award of punitive and exemplary damages

18 I against Defendants.

19                               TWELFTH CAUSE OF ACTION

20             WRONGFUL TERMINATION IN VIOLATION OFPUBLIC POLICY

21                                By Plaintiff against Defendants

22             131. Plaintiff re-alleges and incorporates by reference each of the preceding

23 paragraphs as though fully stated here.

24             132. At all relevant times, Plaintiff was pregnant and/or suffered from a
25 ! physical disability as defined by FEHA, as discussed above. Alternatively, at all relevant

26 times, Defendants perceived that Plaintiff suffered from a physical disability as defined by

27 FEHA.

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 1              133. Plaintiff was pregnant and/or suffered from a physical disability as

2     defined by FEHA, as discussed above. Alternatively, at all relevant times, Defendants
3 perceived that Plaintiff suffered from a physical disability as defined by FEHA.

4               134. At all relevant times, Plaintiff worked in California for the some employer
5 for 30 or more days within a year from the commencement of employment, as discussed

6     above.
7               135. Plaintiff is informed and believes and thereon alleges that Defendants'

 8    conduct, as described more fully above, including, but not limited to, terminating her, was

 9    motivated by her use of accrued sick days and/or attempt to exercise the right to use
10 accrued sick days. Plaintiff requested several days off to managers and/or Human

ii    Resources for paid sick leave purposes, including but not limited to the diagnosis, care,

12    and/or treatment of an existing health condition of, and/or preventive care for, herself due

13    to health conditions related to her pregnancy, including dehydration and anemia.

14              136. Plaintiff is informed and believes and thereon alleges that Defendants'

15    conduct, as described more fully above, including, but not limited to, terminating her, was

16    motivated by her pregnancy. Subsequent to Plaintiff informing Human Resources of her

17    pregnancy and requesting days off due to dehydration and diarrhea related to her

18    pregnancy, Plaintiff was met with a variety of retaliatory tactics, including but not limited

19    to terminating her. Plaintiff s opposition to abide Defendants' discriminatory conduct was

20    a substantial motivating reason for Plaintiffs discharge.

21              137. Plaintiff's termination was in violation of fundamental, basic, and

22    substantial public policies and public policies of the State of California, including, but not

23    limited to, the California Fair Employment and Housing Act, the California Family Rights

24    Act, the Americans with Disabilities Act, the California Pregnancy Disability Leave Act,

25    Title VII of the Civil Rights Act of 1964, Art. 1, Section 8 of the California Constitution, and

26    the California Healthy Workplaces, Healthy Families Act.

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     I                138. As a proximate result of Defendants' willful, knowing and intentional acts

    2     of discrimination against Plaintiff, Plaintiff has sustained losses in earnings and other

     3    employment benefits.
     4                139. As a proximate result of Defendants' willful, knowing and intentional acts

     5    of discrimination against Plaintiff, Plaintiff suffers emotional distress and mental pain and
    6     anguish.
     7                140. Defendants' conduct, as described above, was willful, knowing and

     8    intentional. Accordingly, Plaintiff seeks an award of punitive and exemplary damages

     9    against Defendants.
    10                141. Plaintiff is informed and believes and on that basis alleges that
    11    Defendants, and each of them, were at all relevant times aware of the conduct of each of
    12    the other Defendants and approved and ratified that conduct.
    13                                THIRTEENTH CAUSE OF ACTION

    14                             PRIVATE A1TORNEYS GENERAL ACT
    15                     (Cal. Lab. Code fi 203, 216,246.5,248.5,2899, et seq.)
    16                                   By Plaintiff against Defendants

    17                142. Plaintiff re-alleges and incorporates by reference each of the preceding
    16    paragraphs as though fully stated here.
    19                143. Plaintiff alleges that on or about May 10, 2017, she provided written

    201 I notice   to the Labor and Workforce Development Agency ("LWDA) and Defendants of the
    21    specific violations of the California Labor Code that Defendants have violated and
    22 I continue    to violate.
    23                144. As of the filing of this Complaint, no response has been received from

    24    I the LWDA.
    25                145. Pursuant to California Labor Code Section 2699.3(a)(2)(A), if no

    26 I response has been received from the LWDA within 65 days of the postmark date of the
    27 IMay 10, 2017 letters or if the LWDA declines to investigate the matter, Plaintiff has

    28     exhausted all administrative procedures required of her under California Labor Code
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        ii Sections 2698, 2699, and 2699.3.
        2              146. As a result of all of these alleged acts, Plaintiff seeks penalties under
        3    California Labor Code Sections 2698 and 2699 because of Defendants' violations of

        4    numerous provisions of the California Labor Code.
        5              147. Pursuant to California Labor Code Section 2699, Plaintiff should be
        6 awarded twenty-five percent (25%) of all penalties due under California Law, including

        7    attorney fees and costs.                      -



        8                               FOURTEENTH CAUSE OF ACTION
        9                                UNFAIR BUSINESS PRACTICES
       10                            (Cal. Bus. & Prof. Code § 17200, et sgq)
       11                                  By Plaintiff against Defendants

       12              148. Plaintiff re-alleges and incorporates by reference each of the preceding
       13    paragraphs as though fully stated here.
       14              149. The unlawful conduct of Defendants alleged herein constitutes unfair

       15    competition within the meaning of Business and Professions Code section 17200, at seq.

       16    Due to their unfair and unlawful business practices in violation of FEHA, Defendants have

       17    gained a competitive advantage over other comparable companies doing business in the

       18    State of California that comply with their obligations to employ individuals regardless of

       19    their pregnancy, pregnancy-related illness and disability, as required by law.
       20              150. As a proximate result of Defendants' willful, knowing and intentional acts
       21    of discrimination against Plaintiff, Plaintiff has sustained losses in earnings and other
       22    employment benefits.
       23              151. Pursuant to Business and Professions Code section 17203, Plaintiff is

       24    entitled to restitution of all monies rightfully belonging to her that Defendants did not pay
       25    her or otherwise retained by means of its unlawful and unfair business practices.
       26              152. Defendants' conduct, as described above, was willful, knowing and

       27    intentional. Accordingly, Plaintiff seeks an award of punitive and exemplary damages
       21 against Defendants.

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    1              153. As a direct result of the acts alleged above, Plaintiff has had to hire the
    2 services of an attorney. As a result, Plaintiff has incurred and continues to incur legal
    3 expenses and attorneys' fees, and is entitled to an award of attorneys' fees and costs in

    4 connection with her unfair competition claim pursuant to Code of Civil Procedure section

    5 1021.5, the substantial benefit doctrine, and/or the common fund doctrine.

    6                                      PRAYER FOR RELIEF

    7         WHEREFORE, Plaintiff prays for relief against Defendants as follows:

    8         1.      For general and compensatory damages, including lost wages and

    9                 employment benefits and other special damages according to proof;

    10        2.      For mental and emotional distress damages;

    11        3.      For punitive damages;
    12        4.      For an award of interest, including prejudgment interest, at the legal rate;

    13        5.      For injunctive relief;

    14        6.      For waiting time penalties pursuant to California Labor Code section 203;

    15        7.      For all statutory and civil penalties recoverable by law, including those

    16                available under California Labor Code section 2698, et seq.;

    17        B.      For interest accrued to date;

    18        9.      For attorney fees and costs pursuant to California Government Code

    19                section 12965(b) and California Labor Code section 248.5, and all other

    20                applicable laws; and

    21        10. For such other and further relief that the Court may deem just and proper.

    22
         Dated: May 12, 2017                       ALEXANDER KRAKOW + GLICK, LLP
    23

    24

    25                                             Michael S. MorrisorC
                                                   Amelia Alvarez
    26                                             Jessica S. Choi
                                                   Attorneys for Plaintiff KARINA RUIZ
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        1                                      DEMAND FOR JURY TRIAL

        2            Plaintiff further requests a trial by jury on all issues so triable.

         3

        4
               Dated: May 12, 2017                          ALEXANDER KRAKOW + GLICK, LLP
         5

         6

         7
                                                            Michael S. Morrison '
         8                                                  Amelia Alvarez
                                                            Jessica S. Choi
         9                                                  Attorneys for Plaintiff KARINA RUIZ
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                                 COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL
           Case 1:17-cv-00812-DAD-JLT Document 1-3 Filed 06/16/17 Page 29 of 30
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   Michael S. Morrison (5814 205320); Amelia Alvarez (SBN 310044)
   401 Wilshire Boulevard, Suite 1000
   Santa Monica, California 90401
                      (310)394-0888             FParta (310)394-0811                                                             FILED
  AlTCIUttYJIi6IlTL9: l'lainti(t Karma Ruiz                                                                    SOPERIORCOURTOICAUWIYOFI ERN
 SUPERIOR COURT OF CALIFORNIA, COIJN1Y OF Kern
        STREEFADORESt   1415 Tnixtun Avenue
        MNLEISAWRESt
                                                                                                                           MAY it 20??
    crtymi4ozipccot     Bakersfield, CA 93301
            cNu: Metro Division
          eRmIw                                                                                                    TERRY MCNALLY, CLERK
  CASE NAME.,                                                                                                     BY             DEPUr
  Kariria Ruiz v. Vial-Mart Stores. Inc. et al.                                                                          ENDORSED
 EZI
    CIVIL CASE COVER SHEET
      Unlimited            CI   Limited
                                                            Complex Case Designation                                —      1 1—tole,
      (Amount                   (Amount                     EJ
                                                             counter           IJ   Joinder
      demanded                  demanded is           Filed with first appearance by defendant
      exceeds $25.000)          $25,000 or less)           (Cal. Rules of Court. NIB 3.402)          OWn
                                                                                                                        Ii
                            .      Items 1 below must be completed (son ThWts on 0e17e2).                                ..
1. Check one box below for the case type that best describes this case:
   Auto Ted                                          Contract                                Provisionally Complex Clvii Litigation
                                                       LJ                                         Rules of Court rules 3.400'$.403)
                                                           Breach of sentractAvarrarity (06) (CaL '
         Auto (22)
   CI    Uninsured motorist (46)                       CI  Rub, 3.740 cSledlons (09)             [—]
                                                                                                   AniiinisllTrade reoulatlon (03)
   Other P&PDIWO (PononalinjuryiPreperty               CJ  Other coSections (09)                 IIConstrucilon defect (to)
  .Damagelwmngtui Death) Tort                          [J  insurance coverage (16)               C) Mass tort(4)
         Asbestos (04)                                 C]  Giber conirar (37)                    f1Securities litigation (26)
   C]    Produci liabIlity (24)                      Root Property,                              C]EnvironmontaVroxlc tort (30)
   C     Medical maipmcUce (45)                        C   Eminent domaWinverso                  C insurance coverage claims arising from the
   C     OtherP11PDNJD(23)                             -.  condemnatIon (14)                       above sled progislonallycornptel{ojso
   Non-PIIPDmD (Other) Tort                            CWr    ongful evictIon (33)                 types (41)

  C      Business tosthinfalr business practice (07)
                                                   .   C   other real property (26)          Enforcement of Judgment
  C]     CMI rIghts (05)                             Unlawful Dotalnor                            CEnforcement ci judgment (20)
  C] Defamation (13)                               C         CommercIal (31)                      raiecouaneous Clvii Complaint
  C Fraud (16)                                     Cl        Roddontici (32)                      C RICO (57)
  C. Intellectual property (ID)                    .D        Dnigs(35)                            C Other oomplalnt(not,ec/fledabcve)(42)
  L] Professional neglIgence (25)                      Judicial ReVIeW                            Miscellaneous Civil Potltlon
  C) Olhornon-PiIPDD tort (35)                         CI    Asset forfeiWre (OS)                 CI Partnerthip and corporate governance (21)
   Emoicyrnoni                                         CI
                                                      Petition it: arbItration      1
                                                                                                  [] Other petItion (not rpedSabcva) (43)
  ill Wrongbaltosnation(36)                            C)
                                                      Wrltofmendole(O2)
  C] Other eiiipioyrnint (15)                          C]
                                                      Other judidal revIew (39).
  This case L.J is
                .        LLJ is not        complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional Judicial management:
   a.   CJ  Large number of separately represented parties          d.      CLarge number of witnesses
   b.0        Extensive motion practice raising difficult or novel e.       CCoordination with related actions pending in one or more courts
              issues that will be lime-consuming to resolve                         in other counties, states, or countries, or in a federal court
   e.   II    Substantial amount of documentary evidence           I.        C Substantial postjudgment judicial supervision
    Remedies sought (check as that apply): a.[ZI monetary                b. (I) nonmonetary; declaratory or injunctive relief C. 1?]punitive
    Numberof causes of action (specify): 14: Pregnancy Discrim., Disability Discrim., Retaliation, Wrongflul tcrm.,etc
S. This case        C
                    is          (7]
                               is not a class action suit.
6. If them are any known related cases, file and serve a notice of related case. (You may use tomi CM.015.)
Date: May 12,2017
MichaclS.Morrison               .           .          .                            )
                                                                                             ) '7 ."7
                                                                                        ,.- .'         ccc   >" /'2?
                           (IYI%O Pififfi Nfifli                                                 tZIGZWU1 OF PNIVYOII ATTOWIEYFOR PARrY)


 • Plaintiff must file this cover sheet with the first paper flied In the action or proceeding (except small claims cases or cases flied
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 • If this case is complex under rule 3.400 at seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
 • Unless this isa collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes on!y..                -.




                                                       CIVIL CASE COVER SHEET                                      Cd



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                                                                                                                                      EXHIBIT A
            Case 1:17-cv-00812-DAD-JLT Document 1-3 Filed 06/16/17 Page 30 of 30

                                   INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To PlaIntlift and Others Filing First Papers. If you are filing a first paper ((or example, a complaint) in a civil case, you must
complete and file, along with your first paper, the CMI Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items I through 6 on the sheet. In item 1, you must check
one box (or the case type that best describes the case, If the case fits both a general and a more specific type of case listed in item 1.
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type In item 1 are provided below. A cover
sheet must be filed only with your initial paper. Faliure to file a cover sheet with the first paper filed in e civil case may subject a party.
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 CollectIons Cases. A"collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000. exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the followIng: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment wit of
attachment. The IdentificatIon of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties In Complex Cases. In complex cases only, parties must also use the CM! Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may rile and serve no later than the time of its first appearance a joinder in the
plaIntiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case Is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                       Centiact                                          Provlslenaiiy Complex CIvil LitigatIon (Cal.
    Auto (22)-Personal lr4urylProperty             Broach of ContracUWartanty (08)                Rules of Court Rules 3.400-3.403)
        Oamage'ongful Death                             Breath of Rentattl.ease                        Anlltnistll'rade Regulation (03)
    Uninsured Motorist (46) (if the                          Contract (not unlawful detalner           Construdlon Defect (10)
        case l,woJves an uninsured                              or wrongful evfllo,U                   ClaIms Involving Mass Tort (40)
         motorist claim subject to                      Contractiwarranty Breath-Seller                Seaiultles LItigation (28)
         erbltration. check this Item                      PlaIntiff (not baird ornogllgcnco)          EnvironmenIatfI'oxlc Tort (30)
         instead of Auto)                               Negligent Breath of Contract!                  Insurance Coverage Claims
Other PIIPDIWD (Personal Injury!                           Warranty                                        (artsing from provisionally complex
Property DamagelWrongful Death)                         Other Breath of Conlraclmarranty                   case 4pe listed above) (41)
Tort                                                CollectIons (e.g.. money owed, open            Enforcement of Judgment
    Asbestos (04)                                       book accounts) (09)                            Enforcement of Judgment (20)
        Asbestos Property Damage                       Collection Case-Seller PlaintIff                    Abstract of Judgment (Out of
        Asbestos Personal Injury!                      Other Promissory Note!Cotlecllons                        Ceunrn
             Wrongful Death                                Case                                            ConfessIon of Judgment (non-
    Product Liability (not asbestos or             Insurance Coverage (not provisionally                        demestle relations)
       toxlcfonvtronmental) (24)                       complex) (18)                                       Sister State Judgment
    Medical Malpractice (45)                           Auto Subrogation                                    Administrative Agency Award
       MedIcal Malpractice-                            Other Coverage                                          (not unpaldtaxes)
             Physidans & Surgeons                  Other Contract (37)                                     PetltlonlCertlflcatlon of Entry of
       Other Professional Hearth Care                  Contractual Fraud                                       Judgment on Unpaid Taxes
             Malpractice                               Other Contact DIspute                               Other Enforcement of Judgment
                                                Real Property                                                   Case
    Other PIIPDMD (23)
       Premises LiabIlity (e.g., slip              Eminent Dornainllnverse                          Miscellaneous Clvii Complaint
             and fall)                                 CondemnatIon (14)                               RICO (27)
       Intentional Bodily lnjurylPDMD              Wrongful Eviction (33)                              Other Complaint (not specified
             (e.g., assaull, vandalism)            Other Real Property (e.g.. quiet title) (26)
        Intentional Infliction of                                                                          Declaratory Relief Only
                                                         tt of Possession of Real Property                 Injunctive Relief Only (non-
             EmotIonal Distress                        Mortgage Foredosure                                      harassment)
        Negligent InflIction of                         Quiet Title
             Emotional Distress                         Other Real Property (not eminent                   MechanIcs LIen
        Other PIIPDMD                                                                                      Other Comnmerdal Complaint
                                                       th,meln, landIordtenant or                               Case (non-to,84,on-comp1e4
Nen-PIIPDIWD (Other) Tort                              (enclosure)                                         Other Civil Complaint
   Business Toiliunfafr Business                Unlawful Detainor                                              (non-iortdflon.complex)
       Practice (07)                               Commerdal (31)                                   MIscellaneous CMI PetItion
   CMI Rights (e.g.. disalmination,                Residential (32)                                    Partnershlp and Corporate
       false arrest) (not"                         Drugs (38) (if the case involves Illegal                 Govemance (21)
        harassment) (08)                                dzvgs, check (hIs item otherwise,               Other PetitIon (not specified
   Defamation (e.g., slander, libel)                    rapoil as Commercial or Residential)               above) (43)
         (13)                                   JudIcial Review                                            CivIl Harassment
   Fraud(te)                                       Asset ForfeIture (05)                                   Workplace Violence
   Intellectual Property (19)                      Petition Rer Nbltratlon Award (11)                      ElderlDependent Mult
   Professional NeglIgence (25)                    Wilt of Mandate (02)                                         Abuse
       Legal Malpractice                                %Mit-Adrnlnistretive Mandamus                      Election Contest
       Other Professional Malpractice                   Writ-Mandamus on Limited Court                     PetitIon for Name Change
           (not medical orisgai)                           Case Matter                                     PetitIon for Relief From Lato
    Other Non-PIIPDMD Tort (35)                         Writ-Other Limited Court Case                           Claim
Employment                                                 Review                                          Other Clvii Pelltlon
   Wrongful Termination (38)                       Other Judldal Review (391
   Other Employment (15)                                Review of Health Officer Order
                                                        Notice of Aooeal-L.abor

                                                    CIVIL CASE COVER SHEET


                                                                                                                            EXHIBIT A
